USCA4 Appeal: 07-4115   Doc: 92     Filed: 05/22/2008   Pg: 1 of 4


                                                                Filed: May 22, 2008

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                             1100 East Main Street, Suite 501
                              Richmond, Virginia 23219-3517
                                   www.ca4.uscourts.gov

                            _______________________________

                            TRANSCRIPT ORDER ACKNOWLEDGMENT
                            _______________________________

        No. 07-4115, US v. LaVon Dobie
                     8:04-cr-00235-RWT

         This Acknowledgment establishes a deadline for filing all
         transcript ordered from this court reporter, as follows:

        Court Reporter: Tracy Dunlap
        Current Deadline: 06/30/2008
        Proceedings: 6/13/06 opening statement of government; 6/13/06
        opening statement of Dobie; 8/9/06 closing argument of government;
        8/9/06 closing argument of Dobie

        If transcript has not been properly ordered or if appropriate
        financial arrangements have not been made, the court reporter must
        complete and file a Transcript Order Deficiency Notice with this
        Court within 7 calendar days. If the court reporter has grounds for
        an extension of time, a request for extension may be sought using
        the Transcript Extension Request form.

        This Court is notified of the filing of the Appeal Transcript in
        the District Court through the District Court=s CM/ECF system. If
        the transcript is not filed by the due date, a transcript sanction
        takes effect, as provided in the Guidelines for Preparation of
        Appellate Transcripts in the Fourth Circuit. If a transcript
        sanction is in effect, the court reporter must file a Transcript
        Sanction Certification Form with this Court at the time the
        transcript is filed with the District Court, certifying that the
        appropriate sanction has been deducted from the transcript fee.

        Court forms are available for completion as links from this notice
        and at the Court's web site, www.ca4.uscourts.gov.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
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                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                               TRANSCRIPT DEFICIENCY NOTICE

                        No. 07-4115, US v. LaVon Dobie
                                     8:04-cr-00235-RWT

         If there are problems with the Transcript Order or if the Court
         has not yet approved preparation of transcript at government
         expense, the Court Reporter should, within 7 days of receipt of
         the Transcript Order Acknowledgment from the Court of Appeals,
         file the Deficiency Notice form with the Court of Appeals and
         serve a copy on the party ordering the transcript and the District
         Court Reporter Coordinator.

        Court Reporter: Tracy Dunlap
        Current Deadline: 06/30/2008
        Extension Requested to:

        [ ] Transcript Order is sufficient, but Criminal Justice Act funds
        have not been approved (CJA 24)

        [ ]     Transcript Order is sufficient, but motion for transcript
                at government expense has not been granted (28 U.S.C. § 253
                (f))

        [ ]     Satisfactory financial arrangements have not been made.
                Please specify problem:

        [ ]     Transcript order is unclear. Please specify problem:

        [ ]     Transcript order has not been received (CJA 24)

        [ ]     Transcript order was received after receipt of
                Acknowledgment. Please specify length of delay:

        [ ]     Other (please specify):

        Signature:

        Date:
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                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                              TRANSCRIPT EXTENSION REQUEST

                        No. 07-4115, US v. LaVon Dobie
                                     8:04-cr-00235-RWT

         If an extension of time is needed to complete the transcript, the
         court reporter may file a Transcript Extension Request with the
         Court of Appeals at least 10 days in advance of the deadline,
         setting forth specific information in support of the request.
         Copies of the Request shall be served on the parties to the case
         and the District Court Reporter Coordinator. The granting of an
         extension also constitutes a waiver of sanctions through the date
         of the extension. Please be advised that any information provided
         on this form will be posted on the public docket.

        Court Reporter: Tracy Dunlap
        Current Deadline: 06/30/2008
        Extension Requested to:

           1. Previous Extension Requested? [ ] Yes [ ] No If yes, how
              many?:



           2. Number of Transcript Pages Completed to Date:
              Number of Pages Remaining to be Transcribed:



           3. Outstanding District Court transcripts ordered within past 90
              days:
              Outstanding Court of Appeals transcripts ordered within past
              90 days:



           4. In-Court Time (total days/hours by month):



           5. Vacation (dates):



           6. Incapacitation/Illness (dates):
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           7. Emergencies/Other (be specific):



        Signature:

        Date:
